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                   UNITED STATES DISTRICT COURT
                   SOUTHERN DISTRICT OF GEORGIA
                       BRUNSWICK DIVISION

UNITED STATES OF AMERICA                  )
                                          )
vs.                                       )     No. 2:21CR022
                                          )
TRAVIS MCMICHAEL,                         )
                                          )
                   Defendant.             )

                     SENTENCING MEMORANDUM

        Travis McMichael files this sentencing memorandum for the

Court’s consideration. Having tried this case and reviewed the

Presentence Investigation Report, the Court is well-aware of the

evidence adduced at trial and the information contained in the PSI.

McMichael files this sentencing memorandum to addresses issues of his

safety while incarcerated.

        This case has generated national attention and very strong

feelings against these defendants. McMichael discussed some of the

public outrage in his motion regarding venue. (Doc 90) His arrest

generated comments on social media calling for “2 more bullets,”

electrocution, immediate death sentences, rotting in hell, public

hangings, and televised executions. (Doc 90-Pgs 3-4) Jury selection took


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a week in this case, with some venirepersons expressing strong opinions

about these defendants.

      McMichael has been held in solitary confinement at the Glynn

County Detention Center since his state arrest in May 2020. The

federal grand jury returned its indictment on April 28, 2021. The state

trial, held in the Superior Court of Glynn County and televised, ended

with the jury’s verdict on November 24, 2021. The President of the

United States issued a public statement about that verdict.1 After the

federal verdict in February 2022, the Attorney General made a

statement, and the Vice-President issued a tweet.2

      McMichael has received threats. Hundreds of threats. He quit

counting in January 2022, at around 800 threats. The threats have

included statements that his image has been circulated through the

state prison system on contraband cell phones, that people are “waiting

for him,” that he should not go into the yard, and that correctional

officers have promised a willingness (whether for pay or for free) to keep



1See https://www.whitehouse.gov/briefing-room/statements-
releases/2021/11/24/statement-from-president-joe-biden/
2 See https://www.washingtonpost.com/national-

security/2022/02/22/arbery-verdict-hate-crimes/
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certain doors unlocked and backs turned to allow inmates to harm him.

Undersigned counsel has raised these concerns with the Georgia

Department of Corrections (“DOC”), which has replied that these

threats are unverified and that it can securely house McMichael in

state custody.

      Despite the DOC’s response, these threats bear indicia of

reliability. Cell phones are a problem in state prisons, as a recent case

before this Court demonstrated. See United States v. McMillan et al.,

CR520-007 at Doc 3-2, Pg 6 (S.D. Ga. May 20, 2020)(alleging in

indictment that drug conspiracy used “correctional officers to coordinate

drug shipments and to distribute drugs and cell phones in Georgia

correctional facilities”). In November 2021, an Atlanta news station

reported on conditions at the now-closed Georgia State Prison, where

inmates could “unlock their cell doors at will and where drugs, phones

and weapons are everywhere.”3 A supervising correctional officer

recently pleaded guilty to an indictment alleging that he turned a blind

eye as correctional officers assaulted an inmate. See Exhibit A.



3See https://www.wsbtv.com/news/local/atlanta/inmates-fear-safety-
after-cell-phone-video-shows-shocking-conditions-inside-ga-
prisons/ZIEHOC3RNVFCBF475PVHE3M6BA/
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      But perhaps the most compelling factor is an ongoing

investigation into the conditions at Georgia prisons. On September 14,

2021, the Department of Justice Civil Rights Division – the same

division that brought this federal prosecution (Doc 1- Pg 8) – announced

an investigation into conditions in Georgia prisons. See Exhibit B.4 The

purpose of the federal investigation is to “examine whether Georgia

provides prisoners reasonable protection from physical harm at the

hands of other prisoners.” Id. The investigation recognizes that

division’s “top priority” commitment to “[e]nsuring the inherent human

dignity and worth of everyone, including people who are incarcerated

inside our nation’s jails and prisons.” Id.

      As part of its investigation, the government filed on March 28,

2022, a petition to enforce compliance with a subpoena in the United

States District Court for the Northern District of Georgia. See Exhibit

C. That motion acknowledges the constitutional, statutory, and case law

duties of prisons to protect inmates from substantial risk of harm. Id. at

1-3, 17-18. It explains that the investigation began in 2016; it initially



4See https://www.justice.gov/opa/pr/justice-department-announces-
investigation-conditions-georgia-prisons

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focused on the rights of LGBTI prisoners, and then expanded to

examine whether the DOC “fails to protect prisoners housed at close-

and medium-security levels from harm due to prisoner-on-prisoner

violence.” Id. at 4-5. In response to a September 24, 2021, request for

documents, the DOC “provided access to only an incomplete set of

policies (only a fraction of those requested have been provided), some

blank form documents, a few organizational charts, and other

documentation related to [DOC] facilities.” Id. at 5-6. Significantly, the

DOC “provided access to no incident reports, documents or data related

to homicides or acts of violence. . . .” Id. at 6. Due to the incomplete

production and other issues, the government elected to serve a

subpoena on the DOC Commissioner on December 14, 2021. Id. at 15. A

month later, the DOC responded by sending no additional responsive

documents – just objections and “several purported bases for refusing to

comply.” Id. at 16.5




5At the present time, the petition has not been finally resolved. The
magistrate judge’s report and recommendation, attached to this
memorandum as Exhibit D, recommends granting the government’s
request almost in whole cloth.

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      News media attempted to calculate the deaths in Georgia state

prisons. Georgia Public Broadcasting’s analysis showed 53 homicides in

Georgia state prisons between 2020 and 2021. See Exhibit E.6 The

Atlanta Journal Constitution later counted 57 murders in DOC facilities

during this time period, which is “almost triple the total of 21 for 2018

and 2019.” See Exhibit F. In April 2022, GPB reported that there have

been 106 deaths dating back to 2017, with no cause of death reported,

and a record number of prison homicides in the past three years.

      No doubt that the state first arrested and sentenced McMichael.

His concern is that he will promptly be killed upon delivery to the state

prison system for service of that sentence: He has received numerous

threats of death that are credible in light of all circumstances, and the

government has a pending investigation into the Georgia DOC’s ability

to keep inmates safe in a system where murder rates have tripled.

There are several statutory sentencing purposes. See 18 U.S.C.

§3553(a). Retribution and revenge are not among them, no matter how

unpopular the defendant.



6See https://www.gpb.org/news/2022/04/05/federal-investigators-are-
asking-the-court-force-transparency-on-georgia-prisons

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      There is a Georgia statutory mechanism, the Interstate

Corrections Compact, which would permit the state to ask the Bureau

of Prisons to take custody of a prisoner for service of a state sentence.

See O.C.G.A. §42-11-2, Article III. The state has told counsel that it

does not intend to do that. It is counsel’s understanding that the

government is not going to make a request to the state for McMichael to

serve his sentence in federal custody, either.7

      In an unopposed motion, the government asked the Court to

amend previously issued writs to comply with the Interstate Agreement

on Detainers (“IAD”); specifically, the motion asked for an order that

the three defendants to “remain in federal custody until the completion

of all federal proceedings related to this case.” (Doc 132-Pg 1) The



7Derek Chauvin was the Minneapolis police officer who choked George
Floyd to death. A Minnesota state judge sentenced Chauvin to 22 ½
years in prison in June 2021. https://www.npr.org/sections/trial-over-
killing-of-george-floyd/2021/06/25/1009524284/derek-chauvin-
sentencing-george-floyd-murder

On July 7, 2022, Chauvin received a 252-month (or 21-year) sentence in
federal court. See https://www.justice.gov/opa/pr/former-minneapolis-
police-officer-derek-chauvin-sentenced-more-20-years-prison-depriving
His plea agreement allowed him to serve his state and federal sentences
in federal custody. See https://abcnews.go.com/US/wireStory/chauvin-
faces-future-federal-prison-floyds-death-86329393

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motion noted correctly that the IAD’s anti-shuttling provision seeks to

minimize disruption in the rehabilitative programs offered by the

sending state – here, Georgia. (Id. at 2) The government’s motion

reiterated a request for the defendants to “remain in federal custody

until after the federal trial and any post-trial proceedings have been

resolved.” (Doc 132-Pg 3) The Court’s order provided that “upon their

transfer to federal custody, Defendants shall remain in federal custody

through the completion of the federal trial and any post-trial

proceedings.” (Doc 134)

      The IAD does not use the term “post-trial proceedings.” See 18

U.S.C. App. 2 §2, Art. IV(e) (requiring dismissal of indictment only if

“trial” is not had in violation of the anti-shuttling provisions). At least

one court has held that “trial” includes “sentencing.” Tinghitella v.

California, 718 F.2d 308, 311 (9th Cir. 1983). Tinghitella observed that

“[t]rial” in the speedy trial clause of the Sixth Amendment has been

construed to include sentencing. Id. It relied, too, on the fact that the

“central policy foundations of the IAD support a broad construction of

the term ‘trial,’ [and . . . ] the IAD itself provides that it ‘shall be




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liberally construed so as to effectuate its purposes.” Id. (emphasis in

original) Here is Tinghitella’s explanation:

     The IAD avers that the party states have concluded that
     outstanding detainers based on untried indictments “produce
     uncertainties which obstruct programs of prisoner treatment and
     rehabilitation” and that the central purpose of the agreement is
     “to encourage the expeditious and orderly disposition of such
     charges.” IAD, art. I. Early resolution of detainers was thought to
     enhance rehabilitation and to ensure fair treatment of all
     prisoners, since prior to the IAD, a prisoner with a detainer
     pending against him was often prevented from focusing on a post-
     imprisonment return to society or received less favorable
     treatment than others.

     Both the rehabilitative and fair treatment purposes of the IAD
     would be better effectuated by construing trial to include
     sentencing. A prisoner with foreknowledge of a time certain for
     imprisonment in the receiving state (here, California) presumably
     will more easily undergo rehabilitation than one with knowledge
     merely of the range of possible sentences. Moreover, treatment of
     prisoners in the sending state (Texas), including eligibility for
     “trusty” status and for work-furlough and weekend-furlough,
     apparently depends on the period of sentence eventually to be
     served in the receiving state (California).

     The facts of this case demonstrate another reason why the IAD
     should be construed to apply to sentencing. The petitioner cannot
     appeal from his California conviction until he has been sentenced.
     A reversal of that conviction on appeal would significantly affect
     petitioner's rehabilitation in Texas.

Id. at 311 & n. 5; see also Carchman v. Nash, 473 U.S. 716, 743

(1985)(Brennan, J., dissenting)(observing that the term “trial” is



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“plainly used” in the IAD to “represent the broader concept of final

disposition – indeed Article III uses the terms interchangeably”).

     Counsel admittedly cannot find any case discussing whether

“trial” extends beyond “sentencing” to other “post-trial proceedings,” a

term that suggests direct appeal and beyond. Cf. United States v. Davis,

2017 WL 9398640 at *3 & n. 5 (M.D. Fla. 2017)(using the term “post-

trial” to refer to two separate appeals in the defendant’s criminal case

and his pro se efforts). But the goals of the IAD, the terms of Article V,

and the circumstances of this case warrant a broad construction.

     “The principal goals of Congress in enacting the IAD were to

facilitate the appropriate sentencing of the defendant and to enhance

the possibilities of his rehabilitation by causing the prompt resolution of

outstanding charges against him.” United States v. Lawson, 736 F.2d

835 (2d Cir. 1984). Here, McMichael was sentenced on state charges on

January 7, 2022, and the Court entered its order on January 19, 2022.

(Doc 134) For over two years, McMichael has never left the physical

custody of the Glynn County Detention Center, and the state has never

begun any rehabilitative efforts. Article V(d) of the IAD allows for

temporary custody to “permit[] prosecution on the charge or charges


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contained in . . . [the] untried indictment,” with return to the sending

state (i.e., Georgia) contemplated “[a]t the earliest practicable time

consonant with the purposes of this agreement.” 18 U.S.C. App. 2, §2

Art. V(d), (e). The IAD is to be liberally construed to effectuate its

purposes. Id. at Art. IX; see also Cuyler v. Adams, 449 U.S. 433, 449

(1981)(noting that “a primary purpose of the [IAD] is to protect

prisoners against whom detainers are outstanding”).

     The purpose of the IAD is to further programs of “prisoner

treatment and rehabilitation.” “Prisoner treatment and rehabilitation”

presuppose that that prisoner remains alive. Due to the multiple

threats against McMichael and the government’s investigation into the

violence in Georgia state prisons, McMichael should remain in the

physical custody of the federal government ideally through the term of

his concurrent federal sentence, but at the very least through all “post-

trial proceedings,” which should encompass at least direct appeal and




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exhaustion of cert. rights in the Supreme Court of the United States.

      Respectfully submitted this 4th day of August, 2022.



                                  /s/ Amy Lee Copeland
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                     CERTIFICATE OF SERVICE

      I have filed a copy of this sentencing memorandum and attached

exhibits on the Court’s CM/ECF portal, which then sends a notice of

electronic filing with a link to a file-stamped .pdf copy of this filing.

      This 4th day of August, 2022.

                                    /s/ Amy Lee Copeland
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